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                                         Annex A

                              Specified Leases to Be Rejected




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                                                                                    Schedule 11

                  STORE        LEASE COUNTERPARTY
                                                                     DEBTOR                  PROPERTY ADDRESS                           ABANDONED PROPERTY
                 NUMBER            AND ADDRESS
                                     8612 Realty Co., LLC                                                                       TBD – may include Personal Property such as
       1.                                                                                         478 86th Street
                   156008             7500 Fourth Avenue            Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                Brooklyn, NY 11230
                                     Brooklyn, NY, 11209                                                                        frames
                                 ARC MFWMTNC001, LLC
                                       c/o VEREIT, Inc.
                                                                                                                                TBD – may include Personal Property such as
       2.                        2325 East Camelback Road,                                      5130 Market street
                   076005                                         Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                           Suite 1100                                          Wilmington, NC 28405
                                                                                                                                frames
                                   ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                                 ARCP MF Raleigh NC LLC
                                       c/o VEREIT, Inc.
                                                                                                                                TBD – may include Personal Property such as
       3.                        2325 East Camelback Road,                                  4530 Fayetteville Rd, US 401
                   013039                                         Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                           Suite 1100                                           Raleigh, NC 27603
                                                                                                                                frames
                                   ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                                 ASG Watauga Pavilion, Ltd.
                                     c/o Inland Southwest                                                                       TBD – may include Personal Property such as
       4.                                                                                  7600 Denton Highway Suite 144
                   002113         Management, LLC # 5010          Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                                Watauga, TX 76148
                                     2901 Butterfield Road                                                                      frames
                                     Oak Brook, IL, 60523
                                          AZ77 LLC
                                c/o The RH Johnson Company                                                                      TBD – may include Personal Property such as
       5.                                                                                     2121 SW Wanamaker Rd
                   009039       4520 Madison Ave, Suite 300       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                              Topeka, KS 66614-5214
                                      ATTN: Lisa Randall                                                                        frames
                                   Kansas City, MO, 64111
                                       B & H Land Trust                                                                         TBD – may include Personal Property such as
       6.                                                                                    13500 Beach Blvd. Suite 33
                   016027       1 Sleiman Parkway, Suite 230      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                               Jacksonville, FL 32246
                                    Jacksonville, FL, 32216                                                                     frames
                               BRE DDR Connecticut Commons
                                      LLC c/o DDR Corp.                                                                         TBD – may include Personal Property such as
       7.                                                                                     290 New Britain Avenue
                   165020          3300 Enterprise Parkway          Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                Plainville, CT 06062
                                     ATTN: EVP - Leasing                                                                        frames
                                   Beachwood, OH, 44122




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          The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of the Lease, or as to the existence or validity
         of any claims held by the counterparty or counterparties to such Lease.




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                 STORE    LEASE COUNTERPARTY
                                                              DEBTOR                 PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                           BRE RC Riverpark SC TX LP
                            c/o ShopCore Properties, LP
                                                                                                                      TBD – may include Personal Property such as
       8.                  Two Liberty Place, Suite 3325                             19922 Southwest Fwy Unit 52
                 001181                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                 50 South 16th Street                                   Sugar Land, TX 77479
                                                                                                                      frames
                              ATTN: Legal Department
                               Philadelphia, PA, 19102
                                 Brixmor SPE 5 LLC
                             c/o Brixmor Property Group
                                                                                                                      TBD – may include Personal Property such as
       9.                   450 Lexington Avenue, 13th                                  501 E Roosevelt Road
                 119210                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                         Floor                                           Lombard, IL 60148
                                                                                                                      frames
                              ATTN: Legal Department
                                New York, NY, 10017
                                  Canton West, LLC
                                                                                                                      TBD – may include Personal Property such as
       10.                       17 South Main Street                                    81 Albany Turnpike
                 165002                                      Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                               ATTN: Abraham Kaoud                                        Canton, CT 06019
                                                                                                                      frames
                              West Hartford, CT, 06107
                              CFT Developments, LLC
                                                                                                                      TBD – may include Personal Property such as
       11.                   1683 Walnut Grove Avenue                                   120 W North Avenue
                 119229                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                              ATTN: Legal Department                                    Northlake, IL 60164
                                                                                                                      frames
                                Rosemead, CA, 91770
                                    Citibank, N.A.
                               c/o Citi Realty Services                                                               TBD – may include Personal Property such as
       12.                                                                                 2450 Route 34
                 119240     710 Riverpoint Court, #0268    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                          Oswego, IL 60543
                             ATTN: Real Estate Director                                                               frames
                            West Sacramento, CA, 95605
                             Cole MF Phoenix AZ, LLC
                                   c/o VEREIT, Inc.                                                                   TBD – may include Personal Property such as
       13.                                                                              4456 E. Thomas Road
                 029067      2325 East Camelback Road,     Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                         Phoenix, AZ 85018
                                       Suite 1100                                                                     frames
                                 Phoenix, AZ, 85016
                          Cole MT Harker Heights TX LLC
                                   c/o VEREIT, Inc.                              201 E. Central Texas Expressway,     TBD – may include Personal Property such as
       14.       060005      2325 East Camelback Road,     Mattress Firm, Inc.               Ste. 700                 display racks, frames, desk chairs and/or bed
                                       Suite 1100                                   Harker Heights, TX 76548          frames
                                 Phoenix, AZ, 85016
                            Collin Creek Associates, LLC
                                                                                 1001 N. Central Expressway, Suite    TBD – may include Personal Property such as
       15.                       c/o FRP Acquisitions
                 002120                                    Mattress Firm, Inc.                3100B                   display racks, frames, desk chairs and/or bed
                          5207 McKinney Avenue, Suite 22
                                                                                         Plano, TX 75075              frames
                                   Dallas, TX, 75202




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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                  PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                              Columbia Crossing I, LLC
                            c/o Kimco Realty Corporation
                                                                                                                         TBD – may include Personal Property such as
       16.                3333 New Hyde Park Road, Suite                               6250 Columbia Crossing Drive
                 152025                                        Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                          100                                              Columbia, MD 21045
                                                                                                                         frames
                              ATTN: Legal Department
                             New Hyde Park, NY, 11042
                                 Crossings 11K, LLC                                                                      TBD – may include Personal Property such as
       17.                                                                                1205 W Lane Road
                 111170        6801 Spring Creek Road        Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                        Machesney Park, IL 61115
                                 Rockford, IL, 61114                                                                     frames
                                CSD Addison EK LLC
                                c/o Mid-America Asset                                                                    TBD – may include Personal Property such as
       18.                                                                                3545 N Kedzie Avenue
                 119176            Management, Inc.          Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                            Chicago, IL 60618
                            One Parkview Plaza, 9th Floor                                                                frames
                            Oakbrook Terrace, IL, 60181
                                 D3 Gulf Breeze, LLC
                                                                                                                         TBD – may include Personal Property such as
       19.                 3841 Green Hills Village Drive,                              3781 Gulf Breeze Parkway
                 081012                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                       Suite 400                                          Gulf Breeze, FL 32561
                                                                                                                         frames
                                 Nashville, TN, 37215
                               D3 Overland Park, LLC
                           3841 Green Hills Village Drive,                                                               TBD – may include Personal Property such as
       20.                                                                                 6941 West 119th St.
                 009032                Suite 400             Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                         Overland Park, KS 66209
                               ATTN: Mark McDonald                                                                       frames
                                 Nashville, TN, 37215
                                   Dash Family 2009
                                                                                                                         TBD – may include Personal Property such as
       21.                         5467 Bahia Lane                                           778 Beal Pkwy
                 065005                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                              ATTN: David Rottenberg                                   Fort Walton Beach, FL 32457
                                                                                                                         frames
                                  La Jolla, CA, 92037
                            Davidson Commons 1682, LP
                            c/o Kimco Realty Corporation                                                                 TBD – may include Personal Property such as
       22.                                                                              610 Jetton Street Suite 110
                 024178   3333 New Hyde Park Road, Suite       Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                                                                          Davidson, NC 28036
                                          100                                                                            frames
                             New Hyde Park, NY, 11042
                             DDR Carolina Pavilion, LP
                                    c/o DDR Corp.
                                                                                                                         TBD – may include Personal Property such as
       23.                     3300 Enterprise Parkway                                    9519 Ste A South Blvd
                 024043                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                          ATTN: Executive Vice President-                                  Charlotte, NC 28273
                                                                                                                         frames
                                        Leasing
                                Beachwood, OH, 44122




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                 STORE    LEASE COUNTERPARTY
                                                                 DEBTOR                 PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                 DDR Seabrook LLC
                                    c/o DDR Corp.                                                                          TBD – may include Personal Property such as
       24.                                                                                  700 Lafayette Road
                 120195       3300 Enterprise Parkway           Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                           Seabrook, NH 03874
                          ATTN: Executive Vice President                                                                   frames
                               Beachwood, OH, 44122
                             DDRA Community Centers
                                      Eight, L.P.
                                    c/o DDR Corp.                                                                          TBD – may include Personal Property such as
       25.                                                                              2805 W Agua Fria Fwy Ste 1
                 029101       3300 Enterprise Parkway         Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                            Phoenix, AZ 85027
                          ATTN: Executive Vice President                                                                   frames
                                       - Leasing
                               Beachwood, OH, 44122
                          Derito Talking Stick North, LLC
                                                                                                                           TBD – may include Personal Property such as
       26.                9120 E. Talking Stick Way, Suite                                  9180 E Indian Road
                 029076                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          E1                                               Scottsdale, AZ 85250
                                                                                                                           frames
                                Scottsdale, AZ, 85250
                          Derito Talking Stick South, LLC
                                                                                                                           TBD – may include Personal Property such as
       27.                9120 E. Talking Stick Way, Suite                                9039 Talking Stick Way
                 029159                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          E1                                               Scottsdale, AZ 85250
                                                                                                                           frames
                                Scottsdale, AZ, 85250
                          Donahue Schriber Realty Group,
                                          LP
                                                                                                                           TBD – may include Personal Property such as
       28.                 200 East Baker Street, Suite 100    The Sleep Train,         3030 N Dinuba Blvd, Ste. 5A
                 504029                                                                                                    display racks, frames, desk chairs and/or bed
                             ATTN: Property Manager –                Inc.                    Visalia, CA 93291
                                                                                                                           frames
                                    Orchard Walk
                             East Costa Mesa, CA, 92626
                          EastGroup Properties, LLC 7004                                                                   TBD – may include Personal Property such as
       29.                                                                                 11840 Beach Blvd. #5
                 016008       Benjamin Road, Suite 100        Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                          Jacksonville, FL 32246
                                  Tampa, FL, 33634                                                                         frames
                                   Emmes, LLC c/o
                           Shiner Management Group, Inc.
                                                                                                                           TBD – may include Personal Property such as
       30.                 3201 Old Glenview Road, Suite                                     2581 N. Elston
                 119084                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          301                                               Chicago, IL 60614
                                                                                                                           frames
                                ATTN: Marcy Shiner
                             Edidin Wilmette, IL, 60091
                           Federal Realty Investment Trust
                            c/o Federal Realty Investment
                                                                                                                           TBD – may include Personal Property such as
       31.                               Trust                                             171 Skokie Valley Rd.
                 119065                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                          1626 East Jefferson Street ATTN:                                Highland Park, IL 60035
                                                                                                                           frames
                                  Legal Department
                             Rockville, MD, 20852-4041


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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                   PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                           Federal Realty Investment Trust
                            c/o Federal Realty Investment
                                                                                                                          TBD – may include Personal Property such as
       32.                               Trust                                             1532 Butterfield Road
                 119199                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                               1626 East Jefferson Street                                 Downers Grove, IL 60515
                                                                                                                          frames
                               ATTN: Legal Department
                             Rockville, MD, 20852-4041
                           Federal Realty Investment Trust                                                                TBD – may include Personal Property such as
       33.                                                                              3371 US Highway 1 Unit 403
                 162033        1626 East Jefferson Street      Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                        Lawrence Township, NJ 08648
                                 Rockville, MD, 20852                                                                     frames
                                  FR Riverpoint, LLC
                            c/o Federal Realty Investment
                                                                                                                          TBD – may include Personal Property such as
       34.                               Trust                                     2576 N. Clybourn Avenue Chicago, IL
                 119248                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                               1626 East Jefferson Street                                        60614
                                                                                                                          frames
                               ATTN: Legal Department
                             Rockville, MD, 20852-4041
                            FW IL-Riverview Plaza, LLC
                          c/o Regency Centers Corporation                                                                 TBD – may include Personal Property such as
       35.                                                                               3344 North Western Avenue
                 119249   One Independent Drive, Suite 114   Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                             Chicago, IL 60618
                             ATTN: Lease Administration                                                                   frames
                            Jacksonville, FL, 32202-5019
                               Goodman Landmark I, LP
                             c/o Goodman Properties, Inc.                                                                 TBD – may include Personal Property such as
       36.                                                                                  1661 Easton Road
                 168045     636 Old York Road, 2nd Floor       Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                           Warrington, PA 18976
                              ATTN: Bruce A. Goodman                                                                      frames
                                Jenkintown, PA, 19046
                                    Goodmill, LLC
                             c/o Goodman Properties, Inc.                                                                 TBD – may include Personal Property such as
       37.                                                                                 2150 North 2nd Street
                 162043     363 Old York Road, 2nd Floor       Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                            Millville, NJ 08332
                              ATTN: Bruce A. Goodman                                                                      frames
                                Jenkintown, PA, 19046
                            Hemstreet Development Corp.
                                                                                                                          TBD – may include Personal Property such as
       38.                  c/o CBRE 2415 E. Camelback                               3125 S Alma School Rd Suite #8
                 029130                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                         Road                                             Chandler, AZ 85248
                                                                                                                          frames
                                  Phoenix, AZ, 85016
                              Hodges Trails at 620, LLC
                                                                                                                          TBD – may include Personal Property such as
       39.                     c/o The Weitzman Group                               8300 N. FM 620 Bldg K., Ste. 200
                 004075                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                           4200 N. Lamar Blvd., Suite 200                                  Austin, TX 78726
                                                                                                                          frames
                                   Austin, TX, 78756




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                 STORE    LEASE COUNTERPARTY
                                                                 DEBTOR                  PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                            IA McKinney Towne Crossing
                                           LP
                                c/o InvenTrust Property
                                                                                                                            TBD – may include Personal Property such as
       40.                         Management, LLC                                          8950 State Hwy 121
                 002056                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                            3025 Highland Parkway, Suite                                    McKinney, TX 75070
                                                                                                                            frames
                                          350
                               ATTN: Property Manager
                               Downers Grove, IL, 60515
                            Inland Real Estate LB I, L.L.C.
                              c/o IRC Retail Centers, LLC
                                                                                                                            TBD – may include Personal Property such as
       41.                 814 Commerce Drive, Suite 300                                 7531 Lemont Road, Suite A
                 119096                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                               ATTN: President, Property                                      Darien, IL 60561
                                                                                                                            frames
                              Management Oak Brook, IL,
                                         60523
                           Inland Western Denton Crossing
                                          Ltd
                          c/o RPAI Southwest Management
                                                                                                                            TBD – may include Personal Property such as
       42.                                LLC                                            1400 S. Loop 288, Ste. 120
                 002042                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                              2021 Spring Road, Suite 200                                   Denton, TX 76205
                                                                                                                            frames
                               ATTN: President/Property
                                      Management
                                  Oak Brook, IL, 60523
                                     JAG-BCII LLC                                                                           TBD – may include Personal Property such as
       43.                                                                               8403 State Hwy 151, Ste 600
                 005027       10010 San Pedro, Suite 650      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                           San Antonio, TX 78245
                                San Antonio, TX, 78216                                                                      frames
                                   Kimco Tyvola, LP
                             c/o Kimco Realty Corporation                                                                   TBD – may include Personal Property such as
       44.                                                                                   5411 South Blvd
                 024192   3333 New Hyde Park Road, Suite        Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                            Charlotte, NC 28217
                                          100                                                                               frames
                              New Hyde Park, NY, 11042
                            KIR Arboretum Crossing, L.P.
                             c/o Kimco Realty Corporation                                                                   TBD – may include Personal Property such as
       45.                                                                            9333 Research Blvd., Ste., A 100
                 004071   3333 New Hyde Park Road, Suite      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                            Austin, TX 78759
                                          100                                                                               frames
                          New Hyde Park, NY, 11042-0020
                              KRG New Hill Place I, LLC
                                                                                                                            TBD – may include Personal Property such as
       46.                     c/o Kite Realty Group, LP                            153 Grand Hill Place, Bldg C. Ste 340
                 013033                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                            30 South Meridian, Suite 1100                                Holly Springs, NC 27540
                                                                                                                            frames
                                 Indianapolis, IN, 46204




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                 STORE    LEASE COUNTERPARTY
                                                                  DEBTOR                 PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                Lincoln Kimball Plaza
                            c/o National Shopping Plazas,
                                                                                                                          TBD – may include Personal Property such as
       47.                               Inc.                                             6170 N Lincoln Avenue
                 119147                                        Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                           200 West Madison Street, Suite                                   Chicago, IL 60659
                                                                                                                          frames
                                         4200
                                  Chicago, IL, 60606
                            Linear Retail Nashua #1 LLC
                           c/o Linear Retail Partners LLC
                                                                                                                          TBD – may include Personal Property such as
       48.                               Five                                              225 Daniel Webster
                 120188                                          Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                               Burlington Woods Drive                                      Nashua, NH 03060
                                                                                                                          frames
                            ATTN: William J. Beckeman
                                Burlington, MA, 01803
                           Linear Retail Westborough #1,
                                         LLC                                                                              TBD – may include Personal Property such as
       49.                                                                                    1 Oak Street
                 157006      c/o Keypoint Partners, LLC          Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                                                                                         Westborough, MA 01581
                              1 Burlington Woods Drive                                                                    frames
                                Burlington, MA, 01803
                                   Loop 1604 Group
                          1223 N. Rock Road, Building H-                                                                  TBD – may include Personal Property such as
       50.                                                                                 1603 N Loop 1604 W
                 005054                   200                  Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                          San Antonio, TX 78232
                                ATTN: Sandy Stevens                                                                       frames
                                 Wichita, KS, 67206
                          Malison Trust c/o KIN Properties,
                                         Inc.                                                                             TBD – may include Personal Property such as
       51.                                                                                  1978 Skibo Road
                 013184         185 NW Spanish River             Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                                                                                          Fayetteville, NC 28314
                                 Boulevard, Suite 100                                                                     frames
                                Boca Raton, FL, 33431
                             Market East Associates LLC
                                                                                                                          TBD – may include Personal Property such as
       52.                 c/o Fidelis Realty Partners, Ltd.                               1505 N Town E Blvd
                 002150                                        Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                          4500 Bissonnet Street, Suite 300                                 Mesquite, TX 75150
                                                                                                                          frames
                                  Dallas, TX, 75265
                                 Memorial 14754 Ltd.
                           c/o Orr Commercial 5400 Katy                                                                   TBD – may include Personal Property such as
       53.                                                                                14754 Memorial Drive
                 001160           Freeway, Suite 100           Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                           Houston, TX 77079
                               ATTN: Robert C. Orr Jr.                                                                    frames
                                 Houston, TX, 77007
                                 Mesa Shores 00, LLC
                          c/o AFC Property Management,                                                                    TBD – may include Personal Property such as
       54.                                                                                 2154 E Baseline Rd
                 029078                  Inc.                  Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                            Mesa, AZ 85204
                              12411 Ventura Boulevard                                                                     frames
                               Studio City, CA, 91604


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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                 PROPERTY ADDRESS                        ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                   Metroplex Plaza LP
                                                                                                                       TBD – may include Personal Property such as
       55.                     c/o The Weitzman Group                                   2409 W. Airport Freeway
                 002090                                      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                           3102 Maple Avenue, Suite 350                                    Irving, TX 75062
                                                                                                                       frames
                                   Dallas, TX, 75201
                                     Mobfirm LLC
                                 c/o Robbins Properties                                                                TBD – may include Personal Property such as
       56.                                                                                 3716 Airport Blvd
                 081002     3100 West End Avenue, Suite      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                           Mobile, AL 36608
                                          1070                                                                         frames
                                  Nashville, TN, 37203
                          Mt. Pleasant Retail Venture DST
                             c/o IRC Retail Centers, LLC                                                               TBD – may include Personal Property such as
       57.                                                                         2860 S. Green Bay Rd, Suite 200
                 059085   814 Commerce Drive, Suite 300      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                      Mount Pleasant, WI 53406
                              ATTN: Property Manager                                                                   frames
                                 Oak Brook, IL, 60523
                             NADG/TRC Lakepointe, LP
                             c/o Connected Management                                                                  TBD – may include Personal Property such as
       58.                                                                             717 Hebron Pkwy, Ste. 100
                 002036              Services, LLC           Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                         Lewisville, TX 75057
                          2525 McKinnon Street, Suite 700                                                              frames
                                   Dallas, TX, 75201
                           New Plan of Arlington Heights,
                                          LLC
                             c/o Brixmor Property Group
                                                                                                                       TBD – may include Personal Property such as
       59.                   450 Lexington Avenue, 13th                                 1970 N. Arlington Road
                 119067                                      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                          Floor                                        Arlington Heights, IL 60004
                                                                                                                       frames
                               ATTN: Office of General
                                   Counsel, Property
                                 New York, NY, 10170
                          Oxford Station High Point, LLC
                              c/o Winning Link Property                                                                TBD – may include Personal Property such as
       60.                                                                             2313 N Main St, Suite 105
                 017170              Resources, Inc.           Sleepy's, LLC                                           display racks, frames, desk chairs and/or bed
                                                                                         High Point, NC 27262
                                     P.O. Box 6332                                                                     frames
                                High Point, NC, 27262
                          Parkville Shopping Center, LLC
                          c/o Regency Centers Corporation                                                              TBD – may include Personal Property such as
       61.                                                                                 7645 Harford Road
                 152035   One Independent Drive, Suite 114     Sleepy's, LLC                                           display racks, frames, desk chairs and/or bed
                                                                                          Parkville, MD 21234
                            ATTN: Lease Administration                                                                 frames
                                Jacksonville, FL, 32202
                              Pedersen Springfield, LLC                                                                TBD – may include Personal Property such as
       62.                                                                                 2191 N. Rock Road
                 114011           2226 Tamarron Lane         Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                           Wichita, KS 67206
                                  Lafayette, CO, 80026                                                                 frames



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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                 PROPERTY ADDRESS                          ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                            Plaza at Williams Center, LLC
                                                                                                                         TBD – may include Personal Property such as
       63.                      c/o Larsen Baker, LLC                                  5480 E. Broadway Blvd #110
                 062028                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                             6298 E. Grant Rd, Suite 100                                    Tucson, AZ 85711
                                                                                                                         frames
                                  Tucson, AZ, 85712
                              Point Five Goldsboro, LLC
                                                                                                                         TBD – may include Personal Property such as
       64.                333 W Washington St., Suite 610                               501 & 503 N Berkley Blvd
                 078177                                        Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                ATTN: Susan Poissant                                      Goldsboro, NC 27530
                                                                                                                         frames
                                 Syracuse, NY, 13202
                              Preston Shepard Place, LP
                           c/o Weingarten Realty Investors                                                               TBD – may include Personal Property such as
       65.                                                                               1713 Preston Rd, Ste. #B
                 002010     2600 Citadel Plaza Drive Suite   Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                            Plano, TX 75093
                                          125                                                                            frames
                                  Houston, TX, 77292
                            Ramco-Gershenson Properties,
                                           LP                                                                            TBD – may include Personal Property such as
       66.                                                                               1212 East Central Road
                 119223     31500 Northwestern Highway,      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                        Mount Prospect, IL 60056
                                       Suite 300                                                                         frames
                             Farmington Hills, MI, 48334
                            RAR2-Wicker Park Commons
                                          LLC
                                                                                                                         TBD – may include Personal Property such as
       67.                      c/o Mid-America Asset                                   1281 N Milwaukee Avenue
                 119267                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                   Management, Inc.                                         Chicago, IL 60622
                                                                                                                         frames
                            One Parkview Plaza, 9th Floor
                             Oakbrook Terrace, IL, 60181
                               RB Tech Ridge LLC c/o
                                                                                                                         TBD – may include Personal Property such as
       68.                      RD Management LLC                                         1100 Center Ridge Dr.
                 004070                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                           810 Seventh Avenue, 10th Floor                                   Austin, TX 78753
                                                                                                                         frames
                                New York, NY, 10019
                              Realty Income Corporation                                                                  TBD – may include Personal Property such as
       69.                                                                             2239 Palm Beach Lakes Blvd
                 052028          220 West Crest Street       Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                       West Palm Beach, FL 33409
                                Escondido, CA, 92025                                                                     frames
                                 Retail Properties, Inc.
                          10739 Deerwood Park Boulevard,                                                                 TBD – may include Personal Property such as
       70.                                                                                  1226 Third St South
                 016047                Suite 300             Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                       Jacksonville Beach, FL 32250
                                ATTN: Carrie Manley                                                                      frames
                               Jacksonville, FL, 32256
                                 Rice Lake Square, LP
                                c/o Mid-America Asset                                                                    TBD – may include Personal Property such as
       71.                                                                                 3 Rice Lake Square
                 119266            Management, Inc.          Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                           Wheaton, IL 60189
                            One Parkview Plaza, 9th Floor                                                                frames
                             Oakbrook Terrace, IL, 60181


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                 STORE    LEASE COUNTERPARTY
                                                                  DEBTOR                   PROPERTY ADDRESS                          ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                              Rockfirm LLC c/o Robbins
                                                                                                                             TBD – may include Personal Property such as
       72.                          Properties 1, LLC                                           5946 E. State St.
                 111002                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                           3100 West End Ave, Suite 1070                                       Rockford, IL 61108
                                                                                                                             frames
                                 Nashville, TN, 37203
                            RPAI Chicago Brickyard, LLC
                           c/o RPAI US Management, LLC
                                                                                           2620 N Narragansett Avenue        TBD – may include Personal Property such as
       73.                   2021 Spring Road, Suite 200
                 119185                                        Mattress Firm, Inc.                Suite B1-B3                display racks, frames, desk chairs and/or bed
                              ATTN: President/Property
                                                                                               Chicago, IL 60639             frames
                                      Management
                                 Oak Brook, IL, 60523
                             RPAI US Management, LLC                                                                         TBD – may include Personal Property such as
       74.                                                                                    2645A Housley Road
                 152010      2021 Spring Road, Suite 200         Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                              Annapolis, MD 21401
                                 Oak Brook, IL, 60523                                                                        frames
                            SC North Myrtle Beach Retail,
                                           LP
                                                                                                                             TBD – may include Personal Property such as
       75.                        c/o RealtyLink, LLC                                           1370 Hwy 17N
                 076015                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                             550 S. Main Street, Suite 300                               North Myrtle Beach, SC 29582
                                                                                                                             frames
                               ATTN: Legal Department
                                 Greenville, SC, 29601
                            Southside Marketplace Limited
                                       Partnership
                                                                                                                             TBD – may include Personal Property such as
       76.                c/o Regency Centers Corporation                                        869 E Fort Ave
                 152036                                          Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                          One Independent Drive, Suite 114                                    Baltimore, MD 21230
                                                                                                                             frames
                             ATTN: Lease Administration
                                Jacksonville, FL, 32202
                          Subrooke LLC c/o Kin Properties,                                                                   TBD – may include Personal Property such as
       77.                                                                                      380 Loucks Road
                 161002   Inc. 185 NW Spanish River Blvd.        Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                York, PA 17404
                                Boca Raton, FL, 33431                                                                        frames
                          TATE 114 Shopping Center, LTD
                               c/o The Weitzman Group                                                                        TBD – may include Personal Property such as
       78.                                                                           1219 West State Highway 114 Suite 204
                 117015     3102 Maple Avenue, Suite 500       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                            Grapevine, TX 76051
                                 ATTN: Greg Culchin                                                                          frames
                                   Dallas, TX, 75201
                                    TMGN 121, LLC
                                                                                                                             TBD – may include Personal Property such as
       79.                       15907 Ranchita Drive                                        5701 SH 121, Ste 100
                 002135                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                   ATTN: Ron Avneri                                          The Colony, TX 75056
                                                                                                                             frames
                                   Dallas, TX, 75248
                                 TPP 30 Tolleson LLC
                           c/o Trigate Property Partners LP                                                                  TBD – may include Personal Property such as
       80.                                                                                   9897 W McDowell Rd
                 029136     750 North St. Paul Street, Suite   Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                              Tolleson, AZ 85353
                                           900                                                                               frames
                                   Dallas, TX, 75201

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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                   PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                          TRPF Marlton Square PAD LLC
                            c/o TH Real Estate Americas,
                                  Global Real Estate                                                                        TBD – may include Personal Property such as
       81.                                                                                     330 Route 73
                 162049           730 Third Avenue             Sleepy's, LLC                                                display racks, frames, desk chairs and/or bed
                                                                                          South Marlton, NJ 08053
                             ATTN: Todd Rollins, Senior                                                                     frames
                                       Director
                                New York, NY, 10017
                                 TSM Ventures, Inc.                                                                         TBD – may include Personal Property such as
       82.                                                                                   2720 S Market St
                 029152     301 N. Neil Street, Suite #400   Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                                                                             Gilbert, AZ 85296
                                Champaign, IL, 61820                                                                        frames
                              VAA Improvements, LLC
                                c/o DLC Management
                                                                                                                            TBD – may include Personal Property such as
       83.                           Corporation                                   190 E Stacy Road, Bldg 1300 Suite 1324
                 002089                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                           190 East Stacy Road, Suite 1508                                    Allen, TX 75002
                                                                                                                            frames
                              ATTN: Stephanie Walton
                                  Allen, TX, 75002
                               Veraz Fondo UNO, LLC
                           c/o Cushman & Wakefield U.S.,                                                                    TBD – may include Personal Property such as
       84.                                                                                 1231 Mebane Oaks Rd
                 017180                  Inc.                  Sleepy's, LLC                                                display racks, frames, desk chairs and/or bed
                                                                                            Mebane, NC 27302
                          721 Emerson Road, Suite 300 St.                                                                   frames
                                  Louis, MO, 63141
                          VEREIT MF Appleton WI, LLC
                                  c/o VEREIT, Inc.                                                                          TBD – may include Personal Property such as
       85.                                                                                3626 W College Avenue
                 112010   2325 East Camelback Road, Suite    Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                                                                            Appleton, WI 54914
                                         1100                                                                               frames
                                 Phoenix, AZ, 85016
                            VEREIT MT Orland Park IL,
                                         LLC
                                                                                                                            TBD – may include Personal Property such as
       86.                        c/o VEREIT, Inc.                                        15840 S Harlem Avenue
                 119258                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                          2325 East Camelback Road, Suite                                  Orland Park, IL 60462
                                                                                                                            frames
                                         1100
                                 Phoenix, AZ, 85016
                               Weingarten Nostat, Inc.
                                                                                                                            TBD – may include Personal Property such as
       87.                 2600 Citadel Plaza Drive, Suite                                9192 Glades Road, Ste. B
                 052038                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                         125                                               Boca Raton, FL 33428
                                                                                                                            frames
                                 Houston, TX, 77008
                               Weingarten Nostat, Inc.
                                                                                                                            TBD – may include Personal Property such as
       88.                 2600 Citadel Plaza Drive, Suite                                    939 E Broadway
                 029100                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                         125                                                 Tempe, AZ 85282
                                                                                                                            frames
                                 Houston, TX, 77008



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